


















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






WR-48,582-04





EX PARTE GREGORY LYNN SUMMERS







ON APPLICATION FOR WRIT OF HABEAS CORPUS


FROM THE 350TH DISTRICT COURT OF TAYLOR COUNTY





Per Curiam.


ORDER



	This is a second subsequent application for writ of habeas corpus filed pursuant to
Texas Code of Criminal Procedure, Article 11.071, Section 5.

	Applicant was convicted of capital murder on August 21, 1991.  We affirmed the
conviction and sentence.  Summers v. State, Nos. AP-71,338 and AP-71,389 (Tex.Crim.App.
June 8, 1994).  On October 1, 1997, applicant filed his initial application for writ of habeas
corpus pursuant to Article 11.071.  We denied relief.  Ex parte Summers, Nos. WR-48,582-01 and WR-48,582-02 (Tex.Crim.App. March 28, 2001).  On October 19, 2006, applicant
filed a subsequent application for writ of habeas corpus.    We  dismissed  the  subsequent 


	SUMMERS  -2-


application pursuant to Article 11.071 Section 5.   Ex parte Summers, No. WR-48,582-03
(Tex.Crim.App. October 23, 2006) 

	We have reviewed the application and the record in this case and find that this
subsequent application for writ of habeas corpus does not meet the requirements for
consideration of subsequent claims under Texas Code of Criminal Procedure, Article 11.071,
Section 5.  The application is dismissed as an abuse of the writ and the motion to stay
execution is denied.

	IT IS SO ORDERED THIS THE 24TH  DAY OF OCTOBER, 2006.

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